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    Exhibit 132
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                                                                                                         Atlas   Air Inc

                                                                                                         2000 Westchester        Avenue

                                                                                                         Purchase     New   York      10577   2543




March 23 2017


VIA EMAIL         AND      CERTIFIED          MAIL

Captain Kevin           McCabe
Teamsters        Union Local 1224

2754 Old State Road 73
Wilmington        OH      45177


                RE      Step 1 Decision          –Grievance          AAI 2017 004

Dear Captain McCabe


This   letter   constitutes       Atlas     Air   Inc.’   s   “ Atlas”   or the “ Company”           Step 1 decision in the above referenced

grievance The Step 1 hearing                     for   this   grievance        was held on March         9 2017            In   attendance           from the
Company were Ray DuFour                      Scott        Lindsay Timea Kovach David Burgett Teressa                                   Lau      Andrea

Davenport and            Faith   Walter      we were            joined   by Zachary     Pratt    and    Kevin      McCabe             from the IBT          the
“   Union”


The Union        alleges    the Company             is    not consistently providing           hot   meal     catering          for   duty periods with block

times greater than 4 hours per the Atlas Collective                             Bargaining      Agreement           “ CBA” Sections                  5E
Appendix        5A      and the Ground Operations                   Manual “ GAM” The Union                   is   requesting           the Company

immediately begin providing                 hot    meal       catering    to   Crewmembers           flying   more than 4 block hours                     in   a single
duty period


The Company             carefully    reviewed          the Union’s grievance           regarding       providing      hot meals on               flight   legs    under

4 hours but       in    a duty day    that collectively           exceeds       four   hours    ex    ONT DFW ABE                      The Company denies
any violation of the Atlas            CBA and            maintains Appendix            5A      which references             “   Block Time”          is   referring to

leg block    time and not           total   duty day block time The                Company denies             this   grievance            and considers           this

matter closed           As discussed        in    the grievance          hearing any removal or change                     of    the language from the

GAM    does not modify the             CBA

Sincerely




Captain Ray DuFour
System     Chief Pilot



Cc              Jeff    Carlson Atlas        VP        Flight   Operations

                Jennifer    Chernichaw            Atlas       Sr Employment and Labor Counsel
                First   Officer     Zachary Pratt IBT

                Lynne Nowel          Esq      IBT
